         Case 3:20-cv-00543-WQH-LL Document 1 Filed 03/19/20 PageID.1 Page 1 of 15
AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241


                                       UNITED STATES DISTRICT COURT
                                                                          for the


                                                                              )
                                                                              )                                               Mar 19 2020
 Hf25         "'-0\V\,Jetite, \              l lJ\\ Ct\~                      ~
                                                                                                                                 s/ JenniferS


        .__- D'"'1 lf ~ • .-t::.--- vL,S          ,-1--   fl
                                                          '-- • /'            \\     Case No.           (Supplied by Clerk of Court)


 j:VY\VV\1fa•~:p~?ae::' LLJS+o"'-'1 ;fu-Cir~+-                                                                          '20CV0543 WQHLL
 (name of warden or authorized person having custody ofpetitioner)


                          PETITION FOR A WRIT OF HABEAS CORPUS UNDER 28 U.S.C. § 2241
                                                                Personal Information

I.         (a) Your full name:        t,   \--t
                                            \'\.CA v'\ 0\
                                                    S
                                                                       •
                                                                                     V-\r,V\o-.<
           (b) Other names you have used-:-                             J
                                               --------------------------
2.         Place of confinement:
           (a) Name of institution:           . c_
                                            D rL    C:__ \ \J I C... / AV\                 o-r
           (b) Address:                                              '

           (c) Your identification number:                c;, N              2,..3 - "2.-'S u -     b '-'\ V\
3.         Are you currently being held on orders by:
               ederal authorities      O State authorities                         O Other - explain:
                                    C-..
4.         Are you currently:
           • A pretrial detainee (waiting for trial on criminal charges)
           0 Serving a sentence (incarceration, parole, probation, etc.) after having been convicted of a crime
              If you are currently serving a sentence, provide:
                    (a) Name and location of court that sentenced you:

                      (b) Docket number of criminal case:
                      ( c) Date of sentencing:
                                                          ---------------------------
                e ing held o'n an immigration charge
                ther (explain):       _Q\~;,,;;~O..:..~'•!..',=~-_:..-_'-¥+_.c"'==-:__.,~.____.--:__~~"-+--'-=.a.f--:--_--.---.-----
              ~ 'f>",                             ~ke,                                 V\.O                                                     ~e
              Cl\; Y\,\/\,      .§0    C..0 V r,-}-

                                                    Decision or Action You Are Challenging

 5.        What are you challenging in this petition:
           • How your sentence is being carried out, calculated, or credited by prison or parole authorities (for example,
              revocation or calculation of good time credits)


                                                                                                                                                Page 2 of 9
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          • Pretrial detention
        )141mmigration detention
          •Detainer
         • The validity of your conviction or sentence as imposed (for example, sentence beyond the statutory
           maximum or improperly calculated under the sentencing guidelines)
          •Disciplinary proceedings
         • Other (explain):

6.        Provide more information about the decision or action you are challenging:
          (a) Name and location of the agency or court: "1,VV\.VV\·•~o__ \.-1 o 1'"\
           ~V"\           .. ~ -                   -      I '-'\8°'i( .                                     '°'
                                                                                                             G\) S--l-6 '""""I.") ~"\
                                                                                  \--;e_'-ta....A '\... d..e..




7.         First appeal
           Did you appeal the decision, file a grievance, or seek an administrative remedy?
           • Yes                          • No
           (a) If"Yes," provide:
                   (1) Name of the authority, agency, or court:

                      (2)   Date of filing:
                      (3)   Docket number, case number, or opinion number:
                      (4)   Result:
                      (5)   Date ofresult:
                      (6)   Issues raised:




              (b) If you answered "No," explain why you did not appeal:



 8.           Second appeal
              After the first appeal, did you file a second appeal to a higher authority, agency, or court?
            • Yes                         • No

                                                                                                                                    Page 3 of 9
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AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

          (a) If"Yes," provide:
                     (!) Name of the authority, agency, or court:

                     (2) Date of filing:
                     (3)   Docket number, case number, or opinion number:
                     (4)   Result:
                     (5)   Date of result:
                     (6)   Issues raised:




           (b) If you answered "No," explain why you did not file a second appeal:



9.         Third appeal
           After the second appeal, did you file a third appeal to a higher authority, agency, or court?
          • Yes                          • No
           (a) If"Yes," provide:
                   (1) Name of the authority, agency, or court:
                                                                                  ----------------------



                     (2) Date of filing:
                     (3) Docket number, case number, or opinion number:
                     (4) Result:
                      ( 5) Date ofresult:
                      ( 6) Issues raised:




           (b) If you answered "No," explain why you did not file a third appeal:



 10.       Motion under 28 U.S.C. § 2255
           In this petition, are you challenging the validity of your conviction or sentence as imposed?
           • Yes                          • No
            If "Yes," answer the following:
            (a)       Have you already filed a motion under 28 U.S.C. § 2255 that challenged this conviction or sentence?
                     •     Yes                           •   No


                                                                                                                     Page 4 of 9
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AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

                     If "Yes," provide:
                     (!)   Name of court:
                                           -------------------------------
                     (2)   Case number:
                     (3)   Date of filing:
                     (4)   Result:
                     (5)   Date ofresult:
                     (6)   Issues raised:




           (b)       Have you ever filed a motion in a United States Court of Appeals under 28 U.S.C. § 2244(b)(3)(A),
                     seeking permission to file a second or successive Section 2255 motion to challenge this conviction or
                     sentence?
                     OYes                       ONo
                     If "Yes," provide:
                     (!)   Name of court:
                                           -------------------------------
                     (2)   Case number:
                     (3)   Date of filing:
                     (4)   Result:
                     (5)   Date ofresult:
                     (6)   Issues raised:




           (c)        Explain why the remedy under 28 U.S.C. § 2255 is inadequate or ineffective to challenge your
                      conviction or sentence:




 11.       Appeals of immigration proceedings
           Does this case concern immigration proceedings?
           OYes                   ONo
                   If"Yes," provide:
           (a)     Date you were taken into immigration custody:
           (b)     Date of the removal or reinstatement order:
           (c)     Did you file an appeal with the Board oflmmigration Appeals?
                      • Yes                              ONo

                                                                                                                       Page 5 of 9
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AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

                     If "Yes," provide:
                     (!) Date of filing:
                     (2) Case number:
                     (3) Result:
                     (4) Date of result:
                     ( 5) Issues raised:




          (d)        Did you appeal the decision to the United States Court of Appeals?
                    • Yes                              •   No
                     If "Yes," provide:
                     (!) Name of court:
                                          -------------------------------
                     (2) Date of filing:
                     (3) Case number:
                     (4) Result:
                     ( 5) Date of result:
                     ( 6) Issues raised:




 12.       Other appeals
           Other than the appeals you listed above, have you filed any other petition, application, or motion about the issues
           raised in this petition?
           • Yes                          • No
           If"Yes," provide:
           (a) Kind of petition, motion, or application:
           (b) Name of the authority, agency, or court:

           (c) Date of filing:
           (d) Docket number, case number, or opinion number:
           (e) Result:
           (t) Date ofresult:
           (g) Issues raised:




                                                                                                                       Page 6 of 9
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AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

                                                Grounds for Your Challenge in This Petition
13.       State every ground (reason) that supports your claim that you are being held in violation of the Constitution,
          laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the
          facts supporting each ground. Any legal arguments must be submitted in a separate memorandum.

        GROUND ONE:
          0)




           (b) Did you present Ground One in all appeals that were available to you?
           • Yes                         • No
        GROUND TWO:




           (a) Supporting facts (Be brief Do not cite cases or law.):




           (b) Did you present Ground Two in all appeals that were available to you?
           • Yes                          • No
       GROUND THREE:




            (a) Supporting facts (Be brief Do not cite cases or law.):




            (b) Did you present Ground Three in all appeals that were available to you?
            • Yes                         • No

                                                                                                                      Page 7 of 9
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AO 2-42 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

        GROUND FOUR:




           (a) Supporting facts (Be brief Do not cite cases or law.):




           (b) Did you present Ground Four in all appeals that were available to you?
           • Yes                          • No
14.        If there are any grounds that you did not present in all appeals that were available to you, explain why you did
           not:




                                                                    Request for Relief

 15. State exactly what you want the court to do:                   --'Q..o""""G.'~\_..-e_'k'p"-'-::..5'2-.,-~_Y)/"\f'--'-        _ _ _J-----'-e.=ic\?'-----0-r-_+_,___ _
                                                                                                                    _____~,_ _.O::..,....




                                                                                                                                                              Page 8 of 9
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AO 24°2 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

                                                     Declaration Under Penalty Of Perjury

          If you are incarcerated, on what date did you place this petition in the prison mail system:



I declare under penalty of perjury that I am the petitioner, I have read this petition or had it read to me, and the
information in this petition is true and correct. I understand that a false statement of a material fact may serve as the basis
for prosecution for perjury.




                                                                                   Signature oj Attorney or other authorized person, if any




                                                                                                                                              Page 9 of 9
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                                                             OfficePageID.9        Page
                                                                   of Enforcement and      9 Operations
                                                                                      Removal of 15
'l ' , ,                                                                      U.S. Department or Homeland Security
                                                                              500 12th Stree~ SW
                                                                              Washington, D.C. 20536


                                                                              U.S. Immigration
                                                                              and Customs
                                                                              Enforcement
            Aliyar, Hoshang                                                            A023 250044
            C/O Immigration and Customs Enforcement
            San Diego Field Office

                                         Decision to Continue Detention

            This letter is to inform you that the U.S. Immigration and Customs Enforcement (ICE) has
            reviewed your custody status. and determined that you will not be released from custody at this
            time. This decision was based on a review of your file record and/or personal interview and
            consideration of any information you submitted to ICE reviewing officials.

            You are a native and citizen of Afghanistan who last entered the United States on November 28,
            1983 as a Refugee (RES). You subsequently adjusted your status to that of a Legal Permanent
            Resident (LPR) on the same date. You have been convicted of the crimes of Opium Possession,
            Amphetamine Possession, Vehicle Theft, and Robbery. On July 27, 1999, you were issued a
            Final Order of Removal by an Immigration Judge. You appealed the IJ's ruling before the Board
            of Immigration Appeals (BIA). On February 2, 2000, the BIA dismissed your appeal, but granted
            you a Deferral of Removal to Afghanistan. On October 3, 2002, an IJ terminated your relief for
            Deferral of Removal and ordered you removed to Afghanistan. You appealed the IJ's ruling
            before the Board of Immigration Appeals (BIA). On September 5, 2003, the BIA dismissed your
            appeal. October l, 2003, you filed a Petition for Review and Motion for Stay of Deportation with
            the 9th Circuit Court of Appeals. On June 24, 2004, the 9 th Circuit Court of Appeals denied your
            PFR for Stay of Deportation on August 14, 2014 and issued a mandate.

            ICE is currently working with the government of Afghanistan to secure a travel document for
            your removal from the United States. A travel document from the Government of Afghanistan is
            expected, therefore you are to remain in ICE custody at this time. This decision, however, does
            not preclude you from bringing forth evidence in the future to demonstrate a good reason why
            your removal is unlikely. You are advised that pursuant to Section 24l(a)(l)(C) of the
            Immigration and Nationality Act (INA) you must demonstrate that you are making reasonable
            efforts to comply with the order of removal, and that you are cooperating with ICE efforts to
            remove you by taking whatever actions ICE requests to affect your removal.

            You are also advised that any willful failure or refusal on your part to make timely application in
            good faith for travel or other documents necessary for your departure, or any conspiracy or
            actions to prevent your removal or obstruct the issuance of a travel document, may subject you to
            criminal prosecu on under 8 USC § 12




                                                                                www.ice.gov
  Decision
Case       to Continue Detention Document 1 Filed 03/19/20 PageID.10 Page 10 of 15
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  Aliyar, Hoshang A023 250 044
  Page2

                                              PROOF OF SERVICE

  (1)    Personal Service (Officer to complete both (a) and (b) below.)

         (a)       I _ _. ., tf,-1'-'-"-->1\/-=E:::,bh/""-,._rg().:, . e_ _ _ _ _ __,, Ql=:l"'ORiJ?S:s'vN Oft:S©3-,
                                       Name ofICE Officer                                             Title
· certify that I served _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a copy of
                                          Name of detaini,~
  this document at QSl-y Ms;;P•, ~ N ~ onJAN 1 7 2020at _ _ _ _ _ __
                              Institution                   Date   Time

         (b)  I certify that I served the c u s t o d i a n - - - - - - - - - - - - - - ~
                                                            Name of Official
  - - - - - ~ - - - - - - - - ' at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___, on
              Title                                       Institution
  _ _ _ _ _ _ _ _ with a copy of this document.
         Date

                                                           OR
  (2)    Service by certified mail, return receipt. (Attach copy of receipt)

                   I _ _ _ _ _ _ _ _ _ _ __ , _ _ _ _ _ _ _ _ _ _ ___, certify
                            Name ofICE Officer                      Title
  that I served _ _ _ _ _ _ _ _ _ _ _ _ _.and the custodian _ _ _ _ _ _ _ _~
                          Name of detainee                                Name of Official
  with a copy of this document by certified mail at _ _ _ _ _ _ _ _ _ _ _ on _ _ _.
                                                          Institution                    Date




                                                                          Date:    JAN 1 7 2020




  ( ) cc: Attorney of Record or Designated Representative
  ( ) cc: A-File
                                                                 Office of Enforcement and Removal Operations
Case 3:20-cv-00543-WQH-LL Document 1 Filed 03/19/20 PageID.11 Page 11 of 15
                                                                 U.S. Department of Homeland Security
                                                                 880 Front Street, Suite 3200
                                                                 San Diego, CA 92 l Ol


                                                                 U.S. Immigration
                                                                 and Customs
                                                                 Enforcement


ALIYAR, Hoshang, A023 250 044
C/O CoreCivic
Otay Mesa Detention Center
7488 Calzada De La Fuente
San Diego, CA 92154


                             Decision to Continue Detention

This letter is to inform you that your custody status has been reviewed and it has been
determined that you will not be released from the custody of U.S. Immigration and Customs
Enforcement (ICE) at this time. This decision has been made based on a review of your file
and/or your personal interview and consideration of any information you submitted to ICE's
reviewing officials.

On or about November 28, 1983, you entered the United States as a REFUGEE at New York,
NY. On March 29, 1999, legacy U.S. Immigration and Naturalization Service (INS) served you
with a Notice to Appear, charging you as removable from the United States under Section
237(a)(2)(A)(iii) of the Immigration and Nationality Act (INA). On July 27, 1999, an
immigration judge (IJ) denied your application for Withholding of Removal and protection under
the Convention Against Torture (CAT) which subsequently had you ordered removed from the
United States to Afghanistan. On August 25, 1999, you appealed the decision of the IJ to the
Board ofimmigration Appeals (BIA). On February 2, 2000, the BIA dismissed your case appeal
and sustained the IJ's decision concerning your relief for Convention Against Torture, however,
the BIA did grant you Deferral of Removal to Afghanistan. On May 1, 2002, you were released
from state incarceration and released to the custody of the INS. During this encounter, you were
served with a Notice of Custody Determination (Form I-286) and a Warrant for Arrest of Alien
(Form I-200). On October 3, 2002, an IJ ordered you removed to Afghanistan and terminated
your relief for Deferral of Removal. On November 4, 2002, you appealed the decision of the IJ
to the BIA. On September 5, 2003 the BIA dismissed your case. On October 1, 2003, you filed
a Petition for Review and a Motion for Stay of Deportation with the 9th Circuit Court of Appeals.
However, on June 24, 2004, the 9 th Circuit Court of Appeals denied your case and on August 14,
2014 a mandate was issued. On March 24, 2011, you were remanded into ICE custody from the
San Diego Central Jail (SDCJ) pursuant to a detainer placed by ICE ERO. That same day you
were released from custody via prosecutorial discretion and you were given form G-56 to report
to the ICE/ERO San Diego Non-Detained Unit on December 5, 2018. On June 26, 2019, you
were released from the SDCJ where the San Diego Sheriffs Office notified the San Diego
ICE/ERO Field Office to take custody of you immediately.
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  Decision                   Document 1 Filed 03/19/20 PageID.12 Page 12 of 15
           to Continue Detention
    ALIYAR, Hoshang, A023 250 044
, . Page 2

  You were then turned over to the ICE ERO/CAP Unit in Downtown, San Diego. Currently you
  are awaiting a 90-day Post Order Custody Review.

  Based on the above, you are to remain in ICE custody pending your removal from the United
  States. You are advised that you must demonstrate that you are making reasonable efforts to
  comply with the order of removal and that you are cooperating with ICE's efforts to remove you
  by taking whatever actions ICE requests to affect your removal. You are also advised that any
  willful failure or refusal on your part to make timely application in good faith for travel or other
  documents necessary for your departure, or any conspiracy or actions to prevent your removal or
  obstruct the issuance of a travel document, may subject you to criminal prosecution under 8 USC
  Section 1253(a).

  If you have not been released or removed from the United States by December 23, 2019,
  jurisdiction of the custody decision in your case will be transferred to the Headquarters Post
  Order Review Unit (HQ POCRU), Potomac Center North, 500 12th Street SW, Washington, DC
  20536. HQ POCRU will make a final determination regarding your custody.



                                                                                          Date

  Kenneth C. Smith, Deputy Field Office Director, San Diego, CA
   Decision
   Case       to Continue Detention
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   ALIYAR, Hoshang, A023 250 044
-, ,Page 3

                                               PROOF OF SERVICE

  (1)      Personal Service (Officer to complete both (a) and (b) below.)

           (a)     I _ ____,M=.___,V~e~la~s~c~o_ _ _ _ _ _~ _ __,D=ep"'o"'rt"'a"'t"'io"'n'----"O"'f"'fi"'ce,,r'---------~
                                 Name of!CE Officer                                               Title
  certify that I served _ _ _ _ ___,H"'o"'s"'h"'a,,n.,_g_,_A.,L"'I'-'Y'-'-A"'R"'-_ _ _ _ _ _ _with a copy of
                                                 Name of detainee
  this document at        Otay Mesa Detention Center                           o n - - - - ~ at _ _ _ _ _ __
                                       Institution                                   Date              Time

           (b) I certify that I served the c u s t o d i a n - - - - - - - - - - - - - - - - ~
                                                               Name of Official
  - - - - - - - - - - - - - ~ at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~ on
          Title                                      Institution
  _________ with a copy of this document.
         Date

                                                            OR

  (2)      Service by certified mail, return receipt. (Attach copy of receipt)

                 I - - - - - - - - - - - ~ - - - - - - - - - - - ~ certify
                            Name of ICE Officer                      Title
  that I served _______________and the custodian---------~
                          Name of detainee                          Name of Official
  with a copy of this document by certified mail at _____________ on _ _ __
                                                        Institution                Date

  Detainee Signature~·1.;h-'-+'b'-'tb...,~-·--------                       Date:   o, /01 I 20?0
                                                                                     I I
  ( ) cc: Attorney of Record or Designated Representative
  ( ) cc: A-File
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                                                                                                     US POSTAGE
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